THE LAW OFFICES OF
SALZMAN & WINER, LLP.

305 BROADWAY, SUITE 1204
NEW YorK, NY 10007

ALAN CHESTER SALZMAN MiTcHELL G. SHAPIRO
HARVEY WINER TEL: (212) 233-6550 mshapiro@salzmanwiner.com
hwiner@salzmanwiner.com FAX: (212) 233-6714

July 23, 2015
VIA ECF

Justice Sandra L. Townes, U.S.D.J.
United States District Court

225 Cadman Plaza East

Brooklyn, NY 11201

Re: Brown v. Marriott International, Inc.
Docket No.: 14 CV 5960 (SLT) (MDG) .
Handling Attorneys: Alan C. Salzman, Mitchell G. Shapiro and Harvey Winer

Dear Judge Townes:

We represent the plaintiff and hereby respond to defense letter dated 7/17/15 (Document
30). Defense is in essence inquiring when you intend to make a decision as to their 6/3/15 request
(Document #23) for a pre-motion conference on their proposed motion to dismiss the complaint
based both on failure to adequately plead in the amended complaint, and for forum non
conveniens. Both sides have already fully submitted their arguments, pro and con, on the proposed
application.

However, now with this 7/17/15 letter, which we deem inappropriate, defense attempts to
submit additional information —claiming they have provided discovery recently that should
bolster their forum non conveniens arguments. Without belaboring it, we do not concede this, our
thoughts are just the opposite. The discovery they provided would not bear on whether the
amended complaint was adequately pled.

Further Magistrate Go indicated that without a stay she expects discovery to proceed here in
NY; her initial conference order filed 12/9/14 (document 6) directs that all “factual discovery” be
completed by 9/30/15. Plaintiff has not been deposed yet although we have provided all the
medical documentation defense requires, and not much time is left.

Very truly yours,
SALZMAN & WINER, LLP.

JV

Mitchell G. Shapiro, Esq.

MGS/mc
cc:

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Daniel M. Stewart

WHITE FLEISCHNER & FINO, LLP.
Attorneys for Defendant

61 Broadway

New York, NY 10006 .
